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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                                       Criminal Action No. 18-cr-00567-VSB
                         Plaintiff,
                 v.

 CHRISTOPHER COLLINS,                                  NOTICE OF APPEARANCE
 CAMERON COLLINS, and
 STEPHEN ZARSKY
                Defendants.


          PLEASE TAKE NOTICE that I am admitted or otherwise authorized to practice before

this court and hereby appear as counsel for Defendant Stephen Zarsky in the above-captioned

matter. I request that all papers in connection with this action be served upon the undersigned at

the address listed below.

Dated: October 16, 2019
       New York, New York

                                                 Respectfully submitted,

                                                 DUANE MORRIS LLP

                                                 By: /s/ Arletta Bussiere

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